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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In Re: : Chapter 11

The Hartford Courant Company . : Case No.: 08-13141(KJC)
Debtor

Ariel B. Brignole : August 28, 2009
Movant :

v.

Rosemarie A. Robertson and
The Hartford Courant Company

Respondent
ORDER

The foregoing Motion for Relief from Automatic Stay, dated August 18, 2009, having
been heard by this Court, and there being no objection hereto, it is hereby ORDERED:

Ariel B. Brignole can pursue claims for personal injuries in the matter of Ariel B.
Brignole v, Rosemarie A. Robertson and The Hartford Courant Company, which is now pending
in the Superior Court for the Judicial District of Hartford, and bears Docket No. HHD CV 08-
50207028, only to the extent that such claims can be satisfied from a policy of motor vehicle
insurance which was in effect at the time of the accident that is the subject matter of the civil
case, and does not affect the personal assets of the above-captioned bankruptcy petitioner, The
Hartford Courant Company.

GRANTED/DENIECD

Judge/Clerk

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